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                                   UNITED STATES DISTRICT
                                 COURT SOUTHERN DISTRICT OF
                                 FLORIDA CASE NO. 08-MD-01916-
                                           MARRA

    IN RE: CHIQUITA BRANDS INTERNATIONAL, INC.
    ALIEN TORT STATUTE AND SHAREHOLDER
    DERIVATIVE LITIGATION
                                                                   /
    This Document Relates to:

    ATS ACTIONS
                                                                   /
    07-60821-CIV-MARRA (Carrizosa)
    08-80421-CIV-MARRA (N. J. Action) (Does 1-11)
    08-80465-CIV-MARRA (D.C. Action) (Does 1-144)
    08-80508-CIV-MARRA (Valencia)
    08-80480-CIV-MARRA (Manjarres)
    10-60573-CIV-MARRA (Montes)
    17-81285-CIV-MARRA (D.C. Action) (Does v. Hills)
    18-80248-CIV-MARRA (John Doe 1)

                                                               /

                          ORDER RESETTING TRIALS FOR BELLWETHER
                          ONE A AND BELLWETHER ONE B PLAINTIFFS

           THIS CAUSE is before the Court following the status conference held December 4,

    2023. At the status conference, due to unforeseen circumstances, the Court reset the Bellwether

    One A trial for April 22, 2024 and the Bellwether One B trial for July 2024 (DE 3543). An order

    setting these trials has not yet issued. Accordingly, it is hereby

           ORDERED as follows:

                   1. All viable Bellwether One A claims shall be tried in the Southern

                       District of Florida, West Palm Beach Division, beginning on April

                       22, 2024.

                   2. All viable Bellwether One B claims shall be tried in the Southern

                       District of Florida, West Palm Beach Division, beginning on July 15,
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                       2024.

          DONE AND ORDERED in Chambers, in West Palm Beach, Florida this 9th

   day of January, 2024.




                                                    KENNETH A. MARRA
                                                    United States District Judge



    cc: All counsel of record




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